CaSe:lS-GOZ?G-SDB DOC#ZSJ_ Filed:lO/lG/J_S Entered:lO/16/1810201245 Page:l 012

UNlTED STATES BANKRUPTCY COURT
SOUTHERN DISTRlCT OF GEORGIA
STATESBORO DlVISlON

CI'IAPTER 7, CASE NO. 18-60276-SDB
TRUSTEE FILE NO.

ln the matter of:
DEAL, CHARLES KEVIN

DEBToR(S).

TRUSTEE’S REPORT OF [NVENTOR¥ AND REPORT_ OF ABANDONMENT OF PROPERTY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CLAIMED AS
M MQ_E_E_Q
EXEMPT
81 l Kevin Deal Road, Ga 30458-0000, Statesboro City County $ 197,320.00 $ 0.00 >\'
88 Harmony Church Rd, Ga 30458-0000, Statesboro City County $ 321,714.00 $ 0.00 §<
Emit Grove Road, Ga 30458-0000, Statesboro City Cuunty $ 36,018.00 $ 0.00 ><
2005 Chevroiet Silverado, 250000 Miles $ 500.00 $ 500.00 3<
2014 Gmc Sierra 1500, |70000 Miles $ 17,950.00 $ 13,025.19 ><
Househc)ld Fumishings $ 3,000.00 3 3,000.00 ><
48" Tv, Dvd Player, Cell Phone $ 500.00 $ 500.00 ><
22 Remington Rifle; 12 Gauge Shotgun $ 225.00 $ 225.00 >(
Clothing $ 300.00 $ 300.00 \<
cash s 1,000.00 ss 1,000.00 ><
Checking: Citizens Bank Of The South $ 1,500.00 $ 1,449.81 3<
Checking: Bank Of Newington $ 0.00 $ 0.00 >(
Checking: Bank OfNewington $ 0.00 $ 0.00 >(
5 Shares OfBulloch Gin, lnc. $ 0.00 $ 0.00 )(
John B Anderson Peanut & Grain Co., lnc. (Owns Land, Warehouse,
Fixtures And Equipment Located At Nevils Daisy Rd, And 21 Martin
Lanier Rd Valued At $1,518,530} - Upon Information And Belief, Debt
Exceeds Value, 100% Ownership $ 0.00 $ 0.00 5(
Ira: Merrill Lynch $ 103,805.00 $ 103,805.00 ;(
Ira: Merrill Lynch $ 74,819.99 $ 74,819.99 ><
Ira: Stif`el, Nicolaus & Company, lnc. $ 13,296.62 S 13,296.62 X
Potential Interest In Trust Created By Father'S Wi|l (Distribution Of Trust
Assets Controlled By Debtor'S Mother And To Be Distributed On Her
Dearh As Direcced ln Her will) s 0.00 s 0.00 X
Right Of First Refusal Concerning The Sa]e Of` 258 Acres (Currently Held
In Trusc) $ 0.00 s 0.00 X
Possible 2016-2017 Refunds (Expect It To Be Taken By lrs): Federal And
Srace $ 0.00 3 0.00 l
Funds Owed By John B Anderson Peanut & Grain Co., lnc. ($655,000 ~
Unlil<ely To Be Collecrable) $ 0.00 $ 0.00 ><
lnt. In Ins. Policies: Life Insurance - New York Life $ 0.00 $ 0.00 ><
Potential Claim Against Cnh lndustrial Capital Due Tc) Alleged Improper
repossession And Sa|e 01` Equipment $ 0.00 $ 0.00 >(
s Peanut Trailers 3 3,000.00 $ 0.00 ' )(

 

CaS€ZlS-60276-SDB DOC#ZS]_ Fil€d!lO/l€/l$ En'[€l’€d!lO/lG/J_S 10201245 PG_Q€Z_Z Of 2
Comes now, JOELYN W. PlRKLE, Trustee of the estate of the above-named debtor(s) and files this report of inventory and

abandonment with respect to the property of the bankruptcy estate.

     

cf ,2018.

